                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GREGORY V. MANCO, Ph.D,                       :
    Plaintiff,                                :
                                              :
       v.                                     :       CIVIL ACTION NO. 5:22-cv-00285-JLS
                                              :
ST. JOSEPH’S UNIVERSITY, et al.,              :
      Defendants.                             :

                                             ORDER

       AND NOW, this 12th day of May, 2025, upon consideration of the Motion to Quash or

for Protective Order (ECF No. 187) and Plaintiff’s May 9, 2025 Letter requesting

reconsideration of this Court’s May 1, 2025 Order (ECF No. 185) granting Alumni Defendants

three (3) additional hours to depose Plaintiff, IT IS HEREBY ORDERED as follows:

   1. The Subpoena issued by Plaintiff is QUASHED and Movant Yingling shall not be

       required to appear at the deposition scheduled for May 13, 2025. Notice of the Entry of

       this Order shall be given to all parties as prescribed by law.

   2. Plaintiff’s request for reconsideration is DENIED.



                                              BY THE COURT:


                                              /s/ Jeffrey L. Schmehl
                                              Jeffrey L. Schmehl, J.
